      Case 3:19-cv-02573-EMC Document 1558 Filed 12/08/22 Page 1 of 4



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13   Blue Cross and Blue Shield Kansas City; and Kaiser Foundation Health Plan, Inc.

14
                              UNITED STATES DISTRICT COURT
15                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
16

17
     IN RE HIV ANTITRUST LITIGATION                    Case No. 3:19-cv-02573-EMC (Master
18                                                     Docket)

19                                                     [PROPOSED] ORDER GRANTING
                                                       INDIVIDUAL HEALTH PLAN
20   This Document Relate to:                          PLAINTIFFS’ ADMINISTRATIVE
                                                       MOTION TO FILE DOCUMENTS
21   ALL ACTIONS                                       UNDER SEAL

22                                                     Ctrm:    5-17th Floor
                                                       Judge:   Honorable Edward M. Chen
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     [PROPOSED] ORDER GRANTING INDIVIDUAL HEALTH PLAN PLAINTIFFS’ ADMINISTRATIVE MOTION
                    TO FILE DOCUMENTS UNDER SEAL/CASE NO. 3:19-cv-02573-EMC
      Case 3:19-cv-02573-EMC Document 1558 Filed 12/08/22 Page 2 of 4



 1          Before the Court is Individual Health Plan Plaintiffs’ Administrative Motion to File
 2   Documents Under Seal. Based on the papers filed in support of and without opposition, and all
 3   other pleadings and papers on file herein, IHPPs’ Motion to Seal is GRANTED.
 4          Accordingly, it is HEREBY ORDERED that the Clerk shall maintain under seal the
 5   following:
 6                Document                Portions to be Sealed             Reasons for Sealing
 7    Exhibit 13 to Declaration of    Exhibit 13 (at ¶ 137, p. 55      Proposed redacted content
      Heather M. Burke in Support     Ex. 9, p. 59 Ex. 13, p. 63 Ex.   contains or depicts
 8    of Defendants’ Motion to        17, p. 67 Ex. 21, and p. 83      confidential and proprietary
 9    Exclude Certain of Plaintiffs   Ex. 37)                          business information that has
      Experts Opinions and                                             also been designated
10    Testimony [ECF 1406-5]                                           “HIGHLY CONFIDENTIAL”
                                                                       by IHPPs, the disclosure of
11                                                                     which could cause competitive
                                                                       harm.
12
      Exhibit 14 to Declaration of    Exhibit 14 (at Appendix E-1)     Proposed redacted content
13
      Heather M. Burke in Support                                      contains or depicts
14    of Defendants’ Motion to                                         confidential and proprietary
      Exclude Certain of Plaintiffs                                    business information that has
15    Experts Opinions and                                             also been designated
      Testimony [ECF 1406-5]                                           “HIGHLY CONFIDENTIAL”
16                                                                     by IHPPs, the disclosure of
17                                                                     which could cause competitive
                                                                       harm.
18
      Exhibit 28 to Declaration of    Exhibit 28 (at ¶ 119; and        Proposed redacted content
19    Heather M. Burke in Support     Exs. 5, 5A, 5B, 5C, 5D, 5E,      contains or depicts
      of Defendants’ Motion to        5F, 5G, and 5H)                  confidential and proprietary
20    Exclude Certain of Plaintiffs                                    business information, the
      Experts Opinions and                                             disclosure of which could
21
      Testimony [ECF 1406-7]                                           cause competitive harm to
22                                                                     IHPPs.

23    Exhibit 61 to Declaration of    Exhibit 61, other than RFA       Proposed redacted content
      Heather M. Burke in Support     Responses 2, 3, 4, and 21        contains or depicts
24    of Defendants’ Motion to                                         confidential and proprietary
      Exclude Certain of Plaintiffs                                    business information that has
25
      Experts Opinions and                                             also been designated
26    Testimony [ECF 1406-9]                                           “HIGHLY CONFIDENTIAL”
                                                                       by IHPPs, the disclosure of
27                                                                     which could cause competitive
                                                                       harm.
28
                                                  1
         [PROPOSED] ORDER GRANTING INDIVIDUAL HEALTH PLAN PLAINTIFFS’ ADMINISTRATIVE
                 MOTION TO FILE DOCUMENTS UNDER SEAL/CASE NO. 3:19-cv-02573-EMC
     Case 3:19-cv-02573-EMC Document 1558 Filed 12/08/22 Page 3 of 4



 1
     Exhibits 196 to Declaration of Exhibit to be fully sealed.      Constitutes and contains
 2   W. Henry Huttinger in                                           confidential and proprietary
     Support of Plaintiffs'                                          business information that has
 3   Omnibus Brief in Opposition                                     also been designated
     to Defendants' Motions for                                      “HIGHLY CONFIDENTIAL”
 4   Summary Judgment;                                               by IHPPs, the disclosure of
 5   Plaintiffs' Motions for Partial                                 which could cause competitive
     Summary Judgment [ECF                                           harm.
 6   1407-9]

 7   Exhibits 197 to Declaration of Exhibit to be fully sealed.      Constitutes and contains
     W. Henry Huttinger in                                           confidential and proprietary
 8   Support of Plaintiffs'                                          business information that has
 9   Omnibus Brief in Opposition                                     also been designated
     to Defendants' Motions for                                      “HIGHLY CONFIDENTIAL”
10   Summary Judgment;                                               by IHPPs, the disclosure of
     Plaintiffs' Motions for Partial                                 which could cause competitive
11   Summary Judgment [ECF                                           harm.
     1407-9]
12
     Exhibits 198 to Declaration of Exhibit to be fully sealed.      Constitutes and contains
13
     W. Henry Huttinger in                                           confidential and proprietary
14   Support of Plaintiffs'                                          business information that has
     Omnibus Brief in Opposition                                     also been designated
15   to Defendants' Motions for                                      “HIGHLY CONFIDENTIAL”
     Summary Judgment;                                               by IHPPs, the disclosure of
16   Plaintiffs' Motions for Partial                                 which could cause competitive
17   Summary Judgment [ECF                                           harm.
     1407-9]
18
     Exhibit 23 to Declaration of     Exhibit to be fully sealed.    Constitutes and contains
19   Martin M. Toto in support of                                    confidential and proprietary
     Defendants' Memorandum in                                       business information that has
20   Opposition to Plaintiffs' 1407                                  also been designated
     Motion for Partial Summary                                      “HIGHLY CONFIDENTIAL”
21
     Judgment on Market Power                                        by IHPPs, the disclosure of
22   [1441-5]                                                        which could cause competitive
                                                                     harm.
23
     Exhibit 29 to Declaration of     Exhibit 29 (at ¶ 135 through   Proposed redacted content
24   Weiner in Support of             ¶ 137)                         contains or depicts
     Plaintiffs' Joint Omnibus                                       confidential and proprietary
25
     Brief in Opposition to                                          business information that has
26   Defendants' Motions to                                          also been designated
     Exclude [1442-9]                                                “HIGHLY CONFIDENTIAL”
27                                                                   by IHPPs, the disclosure of
                                                                     which could cause competitive
28                                                                   harm.
                                                  2
        [PROPOSED] ORDER GRANTING INDIVIDUAL HEALTH PLAN PLAINTIFFS’ ADMINISTRATIVE
                MOTION TO FILE DOCUMENTS UNDER SEAL/CASE NO. 3:19-cv-02573-EMC
     Case 3:19-cv-02573-EMC Document 1558 Filed 12/08/22 Page 4 of 4



 1        IT IS SO ORDERED.
 2

 3   Dated: ________________________
             December 8, 2022                ____________________________________
                                             Hon. Edward M. Chen
 4                                           United States District Judge
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       [PROPOSED] ORDER GRANTING INDIVIDUAL HEALTH PLAN PLAINTIFFS’ ADMINISTRATIVE
               MOTION TO FILE DOCUMENTS UNDER SEAL/CASE NO. 3:19-cv-02573-EMC
